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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

DARIUS KIMBROUGH                                *
                                                *           Civil Action No. CCB-17-3477
             v.                                 *
                                                *
CITY OF BALTIMORE, et al.                       *

                                            ORDER

       The record in this case indicates that on January 21, 2021, defendants Perry, Van Curan,

and Sentz, served a suggestion of death as to the plaintiff, Darius Kimbrough. (ECF 63). When a

party dies and a statement noting death is served on the parties, a motion for substitution must be

made within 90 days after service of the statement noting the death. Fed. R. Civ. P. 25(a). If a

motion for substitution is not made within such time period, the action by or against the decedent

must be dismissed. Id. The plaintiff in this case has failed to make a motion within 90 days of the

defendants’ suggestion of death as to Mr. Kimbrough. Accordingly, it is hereby Ordered that:

       1. No later than May 13, 2021, the plaintiff shall SHOW CAUSE why this complaint

           should not be dismissed pursuant to Fed. R. Civ. P. 25(a) for failure to move to

           substitute following the death of Mr. Kimbrough; and

       2. A copy of this Order shall be sent to counsel of record.



 4/22/2021                                                   /S/
Date                                                 Catherine C. Blake
                                                     United States District Judge
